Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 1 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 2 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 3 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 4 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 5 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 6 of 8
WD/NC (Rev. 5/2020) Agreed Order




                    programs may include group sessions led by a counselor or participation in a program
                    administered by the probation officer.
            22.     The defendant shall follow the instructions of the probation officer related to the
                    conditions of supervision.

                   Special Conditions:
                   None

                   It is fmther ORDERED that any restitution order, fine, and special assessment imposed in

         the original Judgment in a Criminal Case are hereby reimposed and are to be paid in full

         immediately, or according to an installment payment plan designated by the U.S. Probation Office

         and approved by the Court.
                             I                      I                                           I

                                 So ORDERED and ADJUDGED, this the 8th day of January, 2021.




                                                                     Frank D. Whitney
                                                                     U.S. District Comt Judge




                                                            7


                  Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 7 of 8
Case 3:20-cr-00143-FDW-DCK Document 17 Filed 01/11/21 Page 8 of 8
